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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

LITTLE ROCK SCHOOL DISTRICT                                    PLAINTIFF

v.                         Case No. 4:82-cv-00866-DPM

PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, ET AL                                     DEFENDANTS

EMILY MCCLENDON, ET AL.                                   INTERVENORS

Intervenors’ Response to PCSSD’s Motion in Limine Regarding Facilities

        The Motion is wholly without merit as shown by the following content

and the accompanying brief, which is incorporated in this response by

reference.

        [1.] Denied. This assertion is erroneous. Intervenors remain free to

raise any all facility issues within the purview of Plan 2000 Part H., as

construed by this Court, including during the hearing on September 24,

2018.

        [2.] The first sentence of this paragraph, describing the joint motion in

text with the first letters capitalized, is erroneous. The motion is in fact

styled: “MOTION TO SUPPLEMENT PLAN 2000 AS IT PERTAINS TO

FACILITIES.” [5084] The quoted text, without the added emphasis, is a part

of the joint motion. This text considered alone, or together with the second


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excerpt in paragraph 3, provides an insufficient predicate for construing

correctly the impact of the approval of the joint motion. This is shown by

the overall content of the accompanying brief.

     [3.] The premise seemingly expressed in this paragraph is in error. The

Court has, as shown in Intervenors’ brief, construed on several occasions the

Part H. “equal” requirement. For “good faith” to play a role in resolving this

Part H. unitary status issue in favor of PCSSD, it would have to relate to

and be accompanied by a ruling that facility implementation efforts have

satisfied, fully, Part H. as construed by the Court. That has not occurred.

The Court approved steps along the journey to full compliance, not actions

completing the journey.

     [3.(additional content)] In addition, the Court’s Order supplemented a

consent decree. ***    LRSD v. PCSSD, 921 F.2d 1371, 1384 (8thCir. 1990);

*** Appeal of Little Rock School District, 949 F.2d 253, 258 (8thCir. 1991)

(setting forth a standard to modify a “consent decree”);       ***   Knight v.

PCSSD, 112 F.3d 953, 954 (1987) (referring to a “consent decree “ entered on

April 29, 1992);   *** Case Doc. 3337 at 4 (Feb. 22, 2000) (enforcement, if

necessary), 5 (referring to standard for modifications of “consent decrees”), 7

(“Plan 2000 advances the original purpose of the decree in a more efficient

way, without upsetting the basic agreement between the parties.”), 7-8

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(Order “conditionally approv[ing] PCSSD’s proposed revised desegregation

plan: Plan 2000.”); ***      Case Doc. 3347 March 20, 2000) (Order giving

final approval to Plan 2000) (S.W. Wright, J.);         ***   LRSD v. State of

Arkansas, 664 F.3d 738, 744 (8thCir. 2011) ([“Under a comprehensive series

of settlement agreements reached in 1988 . . . and 1989 and adopted as

consent decrees, NLRSD and PCSSD each agreed to implement detailed

plans to remedy segregation violations within their districts            . . . .”];

[referring to standard for “modification of a consent decree”]).

     [4.] The Court granted the joint motion. The Court expert submitted a

report. The Court expert could not, of course, have considered the

subsequent actions of the Court on September 24, 2018, or the parties’

conduct. The report does not provide a careful analysis of the wording or

meaning of Plan B, in the light of the entire document, as offered by

Intervenors in the accompanying brief. The content of the report does not

justify adoption of the PCSSD position.

     [5.] As stated, PCSSD identifies the proper “inquiry” erroneously.

     [6.] It is admitted that “Intervenors conducted broad . . . discovery . . .,”

-- all of which occurred after the Court’s ruling of September 24, 2018. The

hyperbole is denied. Facility compliance is of major importance, given its

immediate and many year impact on educational opportunity. Additionally,

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during the course of the Sept. 24, 2018 bench ruling, the Court noted the

communicative power of the facilities provided in a community. Doc. 5565 at

18 [“ . . . . what we’re saying to these young folks about the quality of the

education that they’re receiving as expressed through the spaces we’re

creating for them .”] Intervenors have informed the Court of the Mills High

stakeholders’ complaints regarding the new Mills facility in October 2018.

[Case Doc. 5528 at 3-4] This was a protest of conduct fairly perceived to

communicate continuing “inferiority of their status in the community”

[Brown I, 347 U.S. At 494], continuing to be the “disfavored race.” Freeman

v. Pitts, 503U.S. 467, 491 (1992). In case preparation, Intervenors’ counsel

have separated the wheat from the chaff, in the facility evidence field.

PCSSD counsel do not have a case management role regarding the use of

the evidence deemed probative by Intervenors.

     [7.] , [8.], [9.] and [10.] All contentions based upon the Federal Rules of

Evidence are without merit; they are applied with reference to an erroneous

position on the scope of the facility issues.

     [9.] As noted, this statement of the facility issues is erroneous.

     [11.] Denied. The facility issues being pursued are not irrelevant.

     [12.] As shown in Intervenors’ brief, in detail, there is no “post hoc

revision” of the terms in the joint motion. The joint motion addressed

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supplementation of a consent decree. See paragraph [3.] above.

      [13.] All content denied.

      [14.] Acknowledged.

                                     Conclusion

      The motion should be denied, on the additional ground of waiver, as

explained in the accompanying brief.

                                     Respectfully submitted,

                                     /s/ Austin Porter, Jr.
                                     Austin Porter, Jr. - # AB86145
                                     PORTER LAW FIRM
                                     323 Center Street, Suite 1300
                                     Little Rock, Arkansas 72201
                                     501-244-8200


                                     Robert Pressman
                                     22 Locust Avenue
                                     Lexington, MA 02421
                                     781-862-1955

                                     Shawn G. Childs
                                     Lawrence A. Walker
                                     JOHN W. WALKER, P.A.
                                     1723 Broadway
                                     Little Rock, Arkansas 72206
                                     (501) 374-3758
                                     (501) 374-4187


                              CERTIFICATE OF SERVICE

       I, Austin Porter Jr., do hereby certify that a copy of the foregoing pleading was
electronically filed with the Clerk of the United States District Court for the Eastern
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District of Arkansas, on this 30th day of March 2020, by using the CM/ECF system,
which is designed to send notification of such filing to the following person:

M. Samuel Jones III.                    Scott P. Richardson
Devin R. Bates                          McDaniel, Richardson & Calhoun
MITCHELL, WILLIAMS, SELIG,              1020 West 4th Street, Suite 410
GATES & WOODYARD, PLLC                  Little Rock, Arkansas 72201
425 West Capitol Avenue, Suite 1800
Little Rock, Arkansas 72201             scott@mrcfirm.com

sjones@mwlaw.com
dbates@mwlaw.com

Jay Bequette
Bequette, Billingsley & Kees, P.A.
Attorneys at Law
425 West Capitol Avenue, Suite 3200
Little Rock, Arkansas 72201-3469

jbequette@bbpalaw.com

                                        Austin Porter Jr.




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